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                      UNITED STATES BANKRUPTCY COURT
                       NORTHERN DISTRICT OF GEORGIA
                              ATLANTA DIVISION


                                           )
                                           )     CASE NO. 18-55697-LRC
                                           )
  CASSANDRA JOHNSON LANDRY                 )
  aka CASSANDRA LANDRY,                    )     CHAPTER 7
                                           )
           Debtor.                         )
                                           )


               NOTICE OF REJECTION OF APPOINTMENT AS TRUSTEE

           The undersigned hereby rejects appointment as Trustee in the above case

  because of a conflict in the case.

           This 24th day of September, 2018.


                                                 /s/ Neil C. Gordon
                                                 Neil C. Gordon
                                                 State Bar No. 302387
                                                 Chapter 7 Trustee



  ARNALL GOLDEN GREGORY LLP
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                               CERTIFICATE OF SERVICE

           This is to certify that I have this date served a copy of the foregoing Notice

  of Rejection of Appointment upon the United States Trustee and upon Debtor’s

  counsel and/or Debtor by electronic notification or by placing same in the United

  States mail, postage prepaid, addressed as follows:

  Office of the U.S. Trustee
  362 Richard B. Russell Bldg.
  75 Ted Turner Drive SW
  Atlanta, GA 30303

  Cassandra Johnson Landry
  869 Natchez Valley Trace
  Grayson, GA 30017


           This 24th day of September, 2018.

                                              /s/ Neil C. Gordon




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